 1. John E. Casperson
    HOLMES WEDDLE & BARCOTT, P.C.
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    Seattle, Washington 98104
 3. Telephone: (206) 292-8008
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 5. Attorneys for Plaintiff

 6.
                              IN THE UNITED STATES DISTRICT COURT
 7.
                                     FOR THE DISTRICT OF ALASKA
 8.
    KATHRYN GILES, as personal representative
 9. of the Estate of EUGENE CAMERON,                             IN ADMIRALTY
10.                                            Plaintiff,
             v.                                                  Case No. 3:14-cv-00070-JWS
11.
    AMFAC FOODS, INC.,
12. AMFAC SEAFOODS, INC.,
    and SEA GALLEY STORES, INC.,
13.
                                               Defendants.
14.
                                         MOTION FOR DEFAULT
15.

16.           COMES NOW the Plaintiff Kathryn Giles, as personal representative of the

17. Estate of Eugene Cameron, by and through her attorneys, Holmes Weddle & Barcott,

18. P.C., and moves this Court for entry of an Order for Default against Defendants Amfac

19.
      Foods, Inc. (“Amfac Foods”), Amfac Seafoods, Inc. (“Amfac Seafoods”), and Sea Galley
20.
      Stores, Inc. (“Sea Galley”).
21.
              Service on corporations that fail to maintain a registered agent in the state is made
22.

23. on the Secretary of State. RCW 23B.05.040(2). Thirty days is allowed for response.

24. RCW 23B.05.040(3).            In this case, no defendant has a registered agent and so the

25.
      MOTION FOR DEFAULT
26. Kathryn Giles, as personal representative of the Estate of             HOLMES WEDDLE & BARCOTT, PC
      Eugene Cameron, v. Amfac Foods, Inc., et al.                              999 THIRD AVENUE, SUITE 2600
                                                                                  SEATTLE, WA 98104-4011
      Case No. 3:14-cv-00070-JWS - Page 1 of 2                                   TELEPHONE (206) 292-8008
                                                                                     FAX (206) 340-0289
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 1. Secretary of State was served, as set forth in the attached Declaration of John E.

 2.
      Casperson.
 3.
               DATED this 17th day of June, 2014.
 4.
                                                          HOLMES WEDDLE & BARCOTT, P.C.
 5.
                                                            s/ John E. Casperson
 6.                                                       John E. Casperson, ABA #7910076
                                                          999 Third Avenue, Suite 2600
 7.                                                       Seattle, Washington 98104
                                                          Telephone: (206) 292-8008
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                                                          Email:       jcasperson@hwb-law.com
 9.                                                       Attorneys for Plaintiff
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      MOTION FOR DEFAULT
26. Kathryn Giles, as personal representative of the Estate of            HOLMES WEDDLE & BARCOTT, PC
      Eugene Cameron, v. Amfac Foods, Inc., et al.                             999 THIRD AVENUE, SUITE 2600
                                                                                 SEATTLE, WA 98104-4011
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                                                                                    FAX (206) 340-0289
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